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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)


   DEBTORS’ OBJECTION TO MOTION OF DSM-FIRMENICH TO COMPEL
DEBTORS’ COMPLIANCE WITH SECTION 365(n)(4) OF THE BANKRUPTCY CODE

         Amyris, Inc. (“Amyris”) and its affiliated debtors and debtors in possession (collectively,

the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”)2 file this objection

(the “Objection”) to the Motion of DSM-Firmenich to Compel Debtors’ Compliance with Section

365(n)(4) of the Bankruptcy Code [Docket No. 465] (the “Motion”). In support of this Objection,

the Debtors submit the declaration of Corbin Johnson (the “Johnson Declaration”), which is filed

contemporaneously herewith and incorporated herein by reference In further support of this

Objection, the Debtors respectfully state as follows:

                  PRELIMINARY STATEMENT AND RELIEF REQUESTED

         1.       DSM Nutritional Products Ltd. (“DSM”) and its affiliates (including Firmenich

S.A.) (“Firmenich” and collectively, “DSM-Firmenich”) assert that section 365(n)(4) of the

Bankruptcy Code requires the Court to divest Amyris of its valuable intellectual property because

Amyris has allegedly failed to perform under the License and Drawing Rights Agreement (the

“LDRA”) entered into between Amyris and DSM. However, Amyris has continued to perform


1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    On August 9 and August 21, 2023 (as applicable, the “Petition Date”), the Debtors commenced these Chapter 11
    Cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code with the Court.



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under the LDRA and DSM-Firmenich is not entitled to possession of some of the Debtors’ most

valuable assets – its intellectual property.

        2.        The LDRA, which is the subject of the Motion, is one agreement among many that

govern the complex relationship among Amyris, DSM, and Firmenich regarding the research and

development of cutting edge biosynthetic molecules.3          Together, these various agreements

prescribe a collaborative process through which intellectual property developed by Amyris

(generally referred to herein as the “Licensed Materials”) is developed, commercialized, and

continuously improved. Amyris has operated pursuant to this collaborative process in the ordinary

course of business throughout these Chapter 11 Cases. Indeed, the Motion is premised primarily

upon Amyris’s alleged failure to comply with certain                requests first made by DSM-

Firmenich within recent weeks – outside the ordinary course of business and outside the terms of

the Collaboration Agreement (defined below).

        3.        Section 365(n)(4) of the Bankruptcy Code expressly permits a debtor-licensor

(Amyris) to retain its valuable intellectual property if it performs under the applicable license

agreement, pending assumption or rejection. Since Amyris has been performing under the LDRA,

it should not be deprived of its statutory right to preserve the confidentiality of its proprietary

technology pending a decision to assume or reject the LDRA. The Motion must be denied.

                                  JURISDICTION AND VENUE

        4.        The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing



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Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Debtors confirm their consent pursuant to Local Rule 9013-1(f) to the entry of a final order

by the Court in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

         5.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         6.       The statutory predicates for the relief requested herein are section 105 and 365 of

the Bankruptcy Code.

                                        RELEVANT BACKGROUND

A.       The Amyris and DSM-Firmenich Contractual Relationship

         7.       Prior to the filing of these Chapter 11 Cases, the Debtors, DSM, and Firmenich

entered into various intellectual property licenses and ancillary agreements, including the LDRA

and that certain Collaboration Agreement, dated March 13, 2013 (the “Collaboration Agreement”),

by and between Amyris, Inc. and Firmenich SA.4 Since the commencement of these cases, the

Debtors have continued to perform under these agreements in the ordinary course of business.

         8.       The Collaboration Agreement, among other things, establishes the ordinary course

procedures concerning the research, development, and commercialization of ingredients for use

by Firmenich in limited markets.5 These operating procedures include parameters for determining



4
     A true and correct copy of the Collaboration Agreement is attached hereto as Exhibit A.
5
     Amyris terminated the Collaboration Agreement prepetition. DSM disputes the termination. The parties have
     entered into a Standstill Agreement which is in effect until October 13, 2023, with an additional extension being
     negotiated, and the parties have continued to manage their relationship pursuant to the Collaboration Agreement.
     Amyris reserves all rights to argue that the prepetition termination of the Collaboration Agreement resulted in the
     LDRA itself no longer being executory, leaving DSM with no rights under section 365(n).


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        12.       Despite the commencement of these Chapter 11 Cases, Amyris and DSM-

Firmenich have continued to operate pursuant to the LDRA and all other relevant agreements

(including the Collaboration Agreement) in the ordinary course of business.




        13.




                      See Johnson Declaration at ¶ 5.

        14.       At any given moment in time, Amyris may be investigating the technical and

commercial prospects of potentially hundreds of strain candidates that may benefit from Amyris’s

bio-engineering technology.




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                                                                See Johnson Declaration at ¶ 6.

B.      The              Materials Are Current

        15.       For each molecule in active development, Amyris creates bio-engineered yeast

strains that synthesize the target ingredients as a by-product of the natural fermentation

process. The generation of yeast strain candidates is complex and iterative.




                                                              See Johnson Declaration at ¶ 7.

        16.       Attached as Exhibit 1 to the Johnson Declaration is a chart showing the current

status of Amyris’s                                                                   . This chart

shows that Amyris is compliant with its                                                .

        17.




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                  Unless and until the trustee rejects such contract, on the written request of
                  the licensee the trustee shall—

                  (A)    to the extent provided in such contract or any agreement
                         supplementary to such contract—

                         (i)      perform such contract; or

                         (ii)   provide to the licensee such intellectual property (including
                         any embodiment of such intellectual property to the extent protected
                         by applicable nonbankruptcy law) held by the trustee; and

                  (B)    not interfere with the rights of the licensee as provided in such
                         contract, or any agreement supplementary to such contract, to such
                         intellectual property (including such embodiment), including any
                         right to obtain such intellectual property (or such embodiment) from
                         another entity.

11 U.S.C. § 365(n)(4).

        24.       Thus, prior to rejection, upon written request, and only to the extent provided in the

parties’ license agreement, the debtor may either (i) perform such contract, or (ii) provide certain

intellectual property to the licensee. Where the debtor is performing, the licensee cannot demand

that the debtor also                                              .

        25.       Nevertheless, DSM-Firmenich asserts that Section 6.2 of the LDRA



                                                                                  . DSM-Firmenich’s

position is not supported by either Section 6.2 of the LDRA (when read as a whole and not in

selective snippets) or by section 365(n)(4) of the Bankruptcy Code. All “rights” protected by

section 365(n)(4) must derive from the contract. In re Bluberi Gaming Techs., Inc., 554 B.R. 841,

860 (Bankr. N.D. Ill. 2016) (In holding that the license agreement at issue did not require the

turnover of the debtor’s software codes to the licensee, the court stated: “In order for there to be a




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to possible rejection of the agreement, to either perform or                                        . This

optionality preserves Amyris’s power to assume the LDRA and thereby maintain the

confidentiality of its proprietary technology. Nothing in the section expressly or impliedly requires

Amyris to

                            . This would be wholly inconsistent with section 365(n)(4) of the

Bankruptcy Code.

         30.      Section 6.2 is divided into three sentences, each of which has a different purpose.

The first sentence states

                                                                        .

         31.      The second sentence provides that




         32.      The third sentence of Section 6.2 provides that




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     Under the LDRA, under certain circumstances not relevant here, Amyris would be the licensee of certain
     intellectual property from DSM.


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572, 581 (2017) (“[A] contract must be construed in a manner which gives effect to each and every

part, so as not to render any provision meaningless or without force or effect.”); Ambac Assur.

Corp., 2021 U.S. App. LEXIS 37514, *10 (applying New York law, courts should avoid a contract

interpretation that renders a phrase “meaningless or superfluous”).

        35.       Thus, under the express terms of the LDRA,

                                                                           The LDRA is consistent

with section 365(n)(4) of the Bankruptcy Code, which provides that prior to the time a debtor

decides to reject an executory contract licensing intellectual property, the debtor shall “to the

extent provided in such contract or any agreement supplementary to such contract – (i) perform

such contract; or (ii) provide the licensee with such intellectual property. …” 11 U.S.C. §

365(n)(4) (emphasis added). As Amyris has opted to perform under the LDRA, the second option

does not come into play.

        36.       In sum, DSM does not have the right under the LDRA to

                                                                               Pursuant to section

365(n)(4) of the Bankruptcy Code and Section 6.2 of the LDRA, Amyris’s continued performance

under the LDRA in the ordinary course of business eliminates any requirement that Amyris

                                                        .

        37.       Policy and the legislative history of section 365(n)(4) support Amyris’s position.

Section 365(n)(4) was intended to protect the rights of licensees under license agreements, as they

exist on the petition date, while affording the debtor-licensor time to determine whether to assume

or reject the agreement. The section does not permit licensees to contract around the statute by

drafting an ipso facto provision requiring the debtor to




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                                              That is not the law.

        38.       The legislative history bears out that the turnover requirement of section 365(n)(4)

is only triggered by nonperformance:

        Prior to rejection by the debtor licensor but upon nonperformance by the trustee
        ((n)(4)), as well as upon rejection by the debtor licensor combined with the
        licensee’s election to retain rights in intellectual property ((n)(3)), the trustee, upon
        written request by the licensee, as provided in the parties’ agreements, shall turn
        over to the licensee intellectual property held by the trustee and shall not interfere
        with the licensee's contractual rights to use the intellectual property or to obtain it
        from a third party.

S. Rep. No. 505, 100th Cong., 2nd Sess. 1988, 1988 U.S.C.C.A.N. 3200, 1988 WL 169875, S.

REP. 100-505 (Leg. Hist.) at p. 7 (emphasis added).

        39.       Thus, the legislative history makes clear that the licensee’s entitlement to turnover

is only triggered by either nonperformance or rejection, and that upon rejection, the licensee’s

rights are limited to the intellectual property as it existed as of the petition date. See id. (“The

intellectual property referred to is only that which is in existance [sic] at the time of petition filing

and not anything which first comes into being post-petition. New paragraphs (n)(3) and (n)(4) do

not compel future affirmative performance by the trustee, . . .”).

B.      Amyris Continues to Perform All Its Obligations Under the LDRA.

        40.       DSM-Firmenich argues that Amyris is not performing under the LDRA because it



                            . As discussed herein, and in the Johnson Declaration, that is simply not

true.




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                  a.     Amyris is in compliance with its
                         contractual                             obligations.

        41.       As set forth in detail in the Johnson Declaration, Amyris continues to perform under

the LDRA and all other supplementary agreements. DSM-Firmenich has provided no evidence to

the contrary, and relies instead on unsupported conclusory statements.

        42.       Corbin Johnson, the declarant in the Johnson Declaration, is the Amyris employee

who oversees the relationship between Amyris and DSM. See Johnson Declaration at ¶¶ 1-4. As

set forth in the Johnson Declaration,




                              Johnson Declaration at ¶¶ 8-9.

        43.       The heart of the Johnson Declaration is Mr. Johnson’s review and response to the

allegations in the Motion that Amyris has not honored its contractual obligation to




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                                                                   Such a harsh result is not sanctioned by

New York contract law11 or by the Bankruptcy Code.

                                                CONCLUSION

          46.




          47.     Section 365(n)(4) of the Bankruptcy Code expressly permits Amyris to perform

under the LDRA prior to a decision on assumption or rejection, without risking the loss of its

valuable intellectual property. The LDRA does not provide otherwise and the Motion must be

denied.

          WHEREFORE, based on the foregoing, Amyris respectfully requests that the Court deny

the relief requested in the Motion and grant Amyris such other relief as is appropriate.




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     See Danco Elec. Contractors, Inc. v. Dormitory Auth. of State, 162 A.D.3d 412, 413 (1st Dep’t 2018) (“[W]e
     conclude that plaintiff should be excused from the non-occurrence of that condition, because otherwise it would
     suffer a disproportionate forfeiture, and the occurrence of the condition was not a material part of the agreed
     exchange.”); Aktiv Assets LLC v Centerbridge Partners, L.P., 2019 N.Y. Misc. LEXIS 6798, *20 (N.Y. Sup. Ct.
     December 24, 2019) (technical non-compliance with two provisions in a partnership agreement did not excuse
     performance where no harm resulted from the failure to comply with the two provisions and the fundamental
     bargained for economics of the contract were not impacted).


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 Dated: October 13, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

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                                   EXHIBIT A



                        COLLABORATION AGREEMENT

                             (FILED UNDER SEAL)




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